le Case 1:04-cv-01144-RL.]-STA Document 45 Filed 05/25/05 Page 10f6 Paget§:§§

IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT OF TENNESSEE ,\jj~ h
EASTERN DIVISION ,;;j. F’ -
BERNADETTE CUNNINGHAM and )
ROSAL[ND JOI-INSON, Individually, and as )
Administratrix of the Estate of NEKEY A. )
MAGSBY, Deceased, )
)
Plaintiff )
)
v. )
) No. 1-04-1144-T/AN
MICHELIN NORTH AMERICA, INC., and ) IURY DEMAND
MICHELIN AMERICAS RESEARCH & )
DEVELOPMENT CORP., )
)
Defendants )
ORDER

This matter came before the Court on the motion of Defendants Michelin North Arnerica,
Inc. and Michelin Americas Research & Development Corporation seeking permission of this
Court to file a reply brief to the previously filed response of the Plaintiffs to these Defendants’
Motion to Strike or Exclude the Plaintiffs’ expert. For good cause shown, the motion allowing
these Defendants permission to file a reply brief is granted The reply attached to the motion

shall be filed as a part of the record in this case.

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It is so ORDERED this the day of l 2 ]@ , 2005.

A.M

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document has been served

on the following counsel of record in the manner of service indicated below:

 

/

 

 

 

 

 

 

 

 

 

 

 

 

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This notice confirms a copy of the document docketed as number 45 in
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Honorable J ames Todd
US DISTRICT COURT

